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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                         WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,
                                         :
             Plaintiff,                       Case No. 3:15MJ00295
                                         :

      -vs-                               :   Chief Magistrate Judge Sharon L. Ovington

JEFFREY C. KNAB,                         :

             Defendant.                  :


                                 BINDOVER ORDER


      This matter was set for preliminary examination on September 10, 2015.

Defendant appeared with counsel and waived his right to a preliminary examination. The

Court found the waiver to be knowing and voluntary and therefore orders that Defendant

be bound over to the grand jury to answer the charge.


September 15, 2015                                    s/ Sharon L. Ovington
                                                        Sharon L. Ovington
                                                Chief United States Magistrate Judge
